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                   IN THE UNITED STATES DISTRICT COURT FOR THE


                              EASTERN DISTRICT OF VIRGINIA
                                                                                            I
                                       Alexandria Division
                                                                                            14 2019
IN RE:
                                                                                  CLERK,U.S. DISTRICT COURT
                                                      No. 1:19-MJ-131               ALEXANDRIA. VIRGINIA
EXTRADITION OF
                                                      UNDER SEAL
RICARDO FLORENCIO
PELAYO VILCHEZ


                                          COMPLAINT
                                       (18U.S.C. §3184)

       I, John D. Riesenberg, being duly sworn, state on information and belief that the

following is true and correct:

       1.      I am a trial attorney with the Office ofInternational Affairs in the Criminal

Division ofthe United States Department of Justice, and in this matter I represent the United

States in fulfilling its treaty obligation to the Republic ofPeru("Peru").

       2.      There is an extradition treaty in force between the United States and Peru, the

Extradition Treaty Between the United States of America and the Republic ofPeru, U.S.-Peru,

July 26, 2001, S. Treaty Doc. No. 107-6(2002)(the "Treaty").

       3.      Pursuant to the Treaty, the Government ofPeru has submitted a formal request

through diplomatic channels for the extradition of Ricardo Florencio Pelayo Vilchez("Pelayo

Vilchez").

                                         Relevant Law


       4.      In this context, a court's review is limited to determining whether: (1)the judicial

officer is authorized to conduct the extradition proceeding;(2)the court has jurisdiction over the

fugitive;(3)the applicable treaty is in full force and effect;(4)the applicable treaty covers the
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crimes for which extradition is requested; and(5)sufficient evidence exists to support a finding

ofprobable cause as to each charge for which extradition is sought. In re Extradition ofExoo,

522 F. Supp. 2d 766,775(S.D. W. Va. 2007);             also Hoxha v. Levi,465 F.3d 554,560(3d Cir.

2006); Cheung v. United States, 213 F.3d 82, 88(2d Cir. 2000)("The judicial officer's inquiry is

confined to the following: whether a valid treaty exists; whether the crime charged is covered by

the relevant treaty; and whether the evidence marshaled in support ofthe complaint for

extradition is sufficient under the applicable standard ofproof.").

       5.      The extradition process is sui generis, neither a criminal nor a civil proceeding. It

is primarily an executive function with a specifically defined role for a judicial officer, who is

authorized by statute to determine whether to certify to the Secretary of State that the submitted

evidence is "sufficient to sustain the charge." 18 U.S.C. § 3184;see also Zhenli Ye Gon v. Holt,

774 F.3d 207,201 (4th Cir. 2014). The Secretary of State, not the court, makes the decision

regarding whether the fugitive should ultimately be surrendered to the requesting coimtry. 18

U.S.C. §§ 3184, 3186;Plaster v. United States, 720 F.2d 340,354(4th Cir. 1983). "This

bifurcated procedure reflects the fact that extradition proceedings contain legal issues peculiarly

suited forjudicial resolution, such as questions ofthe standard ofproof, competence of evidence,

and treaty construction, yet simultaneously implicate questions offoreign policy, which are

better answered by the executive branch." United States v. Kin-Hong, 110 F.3d 103,110(1st

Cir. 1997).

       6.      A court's role in the extradition process is to consider the evidence presented on

behalfofthe requesting country and determine whether the legal requirements for certification-

as defined in the treaty, statutes and case law - have been established. Quinn v. Robinson, 783 F.

2d 776,786 n.3 (9th Cir. 1986)(citing Charlton v. Kelly, 229 U.S. 447,461 (1913)); Cheung,

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213 F.3d at 88. Ifthe court finds that the requirements for certification have been met, the court

must furnish the certification to the Secretary of State, together with a copy ofany testimony

taken before the court, and must commit the fugitive to the custody ofthe United States Marshal

to await the Secretary's final determination regarding surrender. 18 U.S.C. § 3184;see Ordinola

V. Hackman,478 F.3d 558,609(4th Cir. 2007)(Traxler, J. concurring); Cheung,213 F.3d at 88.

       7.      A court has jurisdiction over a fugitive found within its jurisdictional boundaries.

18 U.S.C. § 3184("[A judge] may,upon complaint made under oath, charging any person found

within his jurisdiction...issue his warrant for the apprehension ofthe person so charged.").

                                      Statement OF Facts


       8.      According to the information provided by the Government ofPeru, Pelayo

Vilchez was charged with aggravated theft, in violation of Articles 188 and 189 ofthe Peruvian

Criminal Code.


       9.      This offense was committed within the jurisdiction of Peru. A warrant for Pelayo

Vilchez's arrest was issued on November 12,2013,by the Court of Appeals of Lima,Peru.

       10.     The warrant was issued on the basis ofthe following facts:

               a.     On January 13,1997, Juan Gualberto Arias Aguilar("Arias Aguilar"), an

               employee ofthe Asociacion Cultural Brisas del Titicaca ("the Cultural

               Association"), boarded a public bus carrying a bag ofcash belonging to the

               Cultural Association. Arias Aguilar intended to deposit the Cultural

               Association's cash in several banks in Lima.

               b.     Three men on the bus assaulted Arias Aguilar, the bus's driver, and the

               bus's fare collector. At least one ofthe men was carrying a pistol and used it to

               hit Arias Aguilar on the head, knocking him unconscious. Then,the men forced

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        the bus driver to pull the bus offthe road and stole Arias Aguilar's bag ofcash.

        The three men drove away in a Toyota Tercel, having stolen approximately

        31,475.85 Peruvian Sol and 503 U.S. dollars.

        c.     Later on January 13,1997, Arias Aguilar filed a police report and told

        police that his assailants had gone straight for the bag ofcash in his possession,

        suggesting that they knew who he was and what he was canying. Subsequently,

        Peruvian authorities interviewed other Cultural Association employees,including

        Margarita Arenas Suel("Arenas Suel"), a member ofthe administrative staff.

               (i)     When Arenas Suel first spoke with police, she stated that Pelayo

               Vilchez, a former Cultural Association employee, had told her several

               days prior to the incident that he intended to rob the Cultural Association

               over a financial dispute. Arenas Suel further stated that Pelayo Vilchez

               had called her on January 13,1997, prior to the incident, to verify details

               about that day's cash deposit, which Arenas Suel apparently revealed.

               (ii)    When Arenas Suel gave a later statement to Peruvian authorities,

               and also when testifying at her trial, she claimed that Pelayo Vilchez had

               told her that he intended to rob the Cultural Association, but that she

               didn't believe he would actually do so. Arenas Suel also stated that when

               Pelayo Vilchez called her on January 13,1997, she had not given him any

               information about Arias Aguilar or the cash deposit. She further asserted

               that Pelayo Vilchez told her about the robbery several days after the

               incident and offered her money to keep quiet. But during later

               conversations with Pelayo Vilchez, he threatened to harm her and her

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                       family ifshe talked about the robbery,

               d.      In January 2003,Peruvian authorities charged Pelayo Vilchez with

               aggravated theft and Arenas Suel as an accomplice. In October 2005, Arenas Suel

               was convicted for her role in the aggravated theft. Peruvian authorities deferred

               proceedings against Pelayo Vilchez until he could be found.

        11.    Pelayo Vilchez may be foimd within the jurisdiction ofthis Court at 4924

Beauregard Street #102, Alexandria, Virginia 22312.

       12.     Katherine C. Fennell, an attorney in the Office ofthe Legal Adviser ofthe U.S.

Department of State, has provided the U.S. Department of Justice with a declaration

authenticating a copy ofthe diplomatic notes by which the request for extradition was made and

a copy ofthe Treaty, stating that the offense for which extradition is demanded is provided for by

the Treaty, and confirming that the documents supporting the request for extradition are properly

certified by the principal U.S. diplomatic or consular officer in Peru,in accordance with 18

U.S.C. § 3190, so as to enable them to be received into evidence.

       13.     The declaration fi*om the U.S. Department of State with its attachments, including

a copy ofthe diplomatic notes from Peru and a copy ofthe Treaty, and the certified documents

submitted in support ofthe request have been provided to the Court for its review and will be

available at any future hearings. They are incorporated by reference in this complaint.

       14.     Photographs ofPelayo Vilchez are included in these documents and can be found

at Bates No.-EX-PELAYO VILCHEZ-00146,00147,00173 in the photocopies provided to the

Court. The photographs include that which is associated with Pelayo Vilchez's Peruvian ID card

issued by the National Identification and Vital Statistics Office.



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        15.     Because Pelayo Vilchez is an international fugitive who fled Peru after

committing an armed robbery, he likely would flee if he learned of the existence of a warrant for

his arrest.


        WHEREFORE, I request that a warrant for the arrest of Pelayo Vilchez be issued in

accordance with the Treaty and 18 U.S.C. § 3184 so that the fiigitive may be arrested and

brought before this Court "to the end that the evidence of criminality may be heard and

considered," and that this complaint and the warrant be placed under the seal of the Court until

such time as the warrant is executed.

                                                    VAUGHN A. ARY
                                                    DIRECTOR
                                                    OFFICE OF INTERNATIONAL AFFAIRS


                                            By:
                                                    John D. Riesenberg
                                                    Trial Attorney
                                                    Office ofInternational Affairs
                                                    Criminal Division
                                                    United States Department of Justice



Sworn to and subscribed before me this 14^*^ day of March 2019.


John F. Anderson
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United States Magistrate Judge
HON.JOHN F. ANDERSON
United States Magistrate Judge
